                     Case 1:21-cv-02900-CJN Document 109 Filed 10/19/23 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                         UNITED STATES DISTRICT COURT
                                                             for the
                                                   DistrictDistrict
                                              __________    of Columbia
                                                                    of __________


               Smartmatic USA Corp., et al.                     )
                             Plaintiff                          )
                                v.                              )      Case No. 1:21-cv-02900-CJN
                    Herring Networks, Inc.                      )
                            Defendant                           )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Scott Circle Communications, Inc.                                                                              .


Date:          10/19/23                                                                  /s/ Erik Connolly
                                                                                           Attorney’s signature


                                                                                Erik Connolly (DC Bar: No. IL-0099)
                                                                                      Printed name and bar number

                                                                            Benesch Friedlander Copland & Aronoff LLP
                                                                                    71 S. Wacker, Suite 1600
                                                                                        Chicago, IL 60606
                                                                                                Address

                                                                                    econnolly@beneschlaw.com
                                                                                             E-mail address

                                                                                           (312) 624 6348
                                                                                           Telephone number

                                                                                           (312) 767-9192
                                                                                              FAX number
